Case 2:90-cv-00520-KJM-SCR   Document 5680-4   Filed 09/13/17   Page 1 of 16




                     EXHIBIT 3
          Case 2:90-cv-00520-KJM-SCR                Document 5680-4
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                      Filed 09/13/17    Page 2 of 16
                                                                                 EDMUND G. BROWN JR., GOVERNOR

OFFICE OF LEGAL AFFAIRS
Patrick R. McKinney II
General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001




        July 21, 2017

        Lisa Ells
        Rosen Bien Galvan & Grunfeld LLP
        50 Fremont Street, 19th Floor
        San Francisco, CA 94105
        VIA Email

                 RE: Plaintiffs’ July 6, 2017 Letter

        Lisa:

        Defendants write to respond to your office’s July 6, 2017, letter regarding Mental Health Crisis
        Bed proposals as well as to provide data on Mental Health Crisis Beds as requested during the all
        parties’ workgroups. As mentioned in your July 19 email, Defendants agree that the parties
        should engage in a cooperative effort to identify obstacles to full compliance with a 24-hour
        timeline for transfer of inmates to Mental Health Crisis Beds and possible solutions that ensure
        patients receive timely and appropriate care.

             1. Update on Initiatives to Ensure Proper Bed Utilization of Mental Health Crisis Beds

        In Defendants’ April 7, 2017, Response to the Court’s March 24, 2017, Order to Show Cause,
        Defendants outlined several initiatives undertaken in the last year to help ensure appropriate use
        of Mental Health Crisis Beds. Those initiatives are discussed below.

             a. Dialectical Behavior Therapy Program

        The California Department of Corrections and Rehabilitation (CDCR) has a Dialectical Behavior
        Therapy (DBT) at the California Medical Facility (CMF). Staff at California State Prison,
        Sacramento received training from DBT consultants on June 22, 2017 and June 23, 2017, and are
        in the process of developing DBT groups. Although new, it is anticipated that the evidence-
        based DBT program will be successful at diverting high utilizers of crisis beds away from
        regular admissions and referrals to a successful outpatient program. As of July 21, 2017, there
        are 11 patients in the DBT program at CMF.

             b. Trainings Regarding Clinical Evaluations, Treatment Skills, Case Formulation, Triaging
                Patients Referred to Crisis Beds, and Interdisciplinary Treatment Teams

        Case formulation, treatment planning, and crisis triage training is being provided to staff
        statewide. The training for trainers were all completed by January 2017. IDTT and case
        formulation trainings are helping treatment teams provide improved individualized treatment
        plans. The goal of this training is to improve crisis bed staff development of goal-driven, short



                                                                                               Exhibit 3 - 001
 Case 2:90-cv-00520-KJM-SCR Document 5680-4                       Filed 09/13/17   Page 3 of 16
RE: Mental Health Crisis Bed Proposal
Page 2


term treatment and discharge planning earlier in the inmate’s stay in crisis bed, thereby
decreasing the length of stays by inmates housed in crisis beds and increasing the availability of
such beds for other inmates

   c. Crisis Intervention Teams

CDCR has Crisis Intervention Teams (CIT) at the California Institution for Women (CIW),
California Health Care Facility (CHCF) and Salinas Valley State Prison (SVSP). CIT training is
scheduled to occur at CCWF on August 3, 2017. CIT, when implemented according to the
model, has helped provide patient support at the crisis evaluation period and improves staff’s
ability to evaluate the crisis situation, thereby reducing unnecessary referrals to the MHCB.

In addition to CITs, Defendants have taken a multi-pronged approach at California State Prison,
Sacramento and R.J. Donovan State Prison. Those prisons have begun DBT groups, pain
management programs, incentive based programs for participating in treatment, and clinical tier
walks. These efforts focus on “prevention” to reduce crisis bed referrals and readmissions.

   d. After Hours Staffing

CDCR has expanded its after-hours staffing at many institutions. The goal of increasing after
hours staffing is to decrease the number of rescissions. Data has shown that a significant number
of after hours referrals to crisis beds are made between 5:00 PM and 1:00 AM.
The current staffing hours at CDCR institutions is as follows:

                         Institution    On-Site Hours   Days Per Week
                         ASP            0700-1700       7
                         CAL            0730-1730       7
                         CCC            0700-1700       7
                         CCI            0800-1700       5
                         CCWF           0600-1800       5
                                        0700-1700       Sat/Sun
                         CEN            0730-1730       7
                         CHCF           0700-1700       5
                         CIM            0700-0000
                                        1400-0000
                         CIW            0700-1500       7
                         CMC            0700-1700
                         CMF            0700-2300       5
                                        0700-1700       Sat/Sun
                         COR            0700-1700
                         CRC            0700-1700
                         CTF            0600-1800       5
                                        0700-1700       Sat/Sun
                         CVSP           0630-1800       7
                         FSP            0800-1600       5
                         HDSP           0700-1700       7
                         ISP            0630-1800       7
                         KVSP           0700-1700       7



                                                                                       Exhibit 3 - 002
 Case 2:90-cv-00520-KJM-SCR Document 5680-4                  Filed 09/13/17    Page 4 of 16
RE: Mental Health Crisis Bed Proposal
Page 3


                                       0800-1800      5
                        LAC            0700-1700      Sat/Sun/Mon
                                       0700-2200      Tue/Wed/Thur
                                       0700-2000      Fri
                        MCSP           0600-0000      Mon-Thurs
                                       0600-1700      Fri
                                       0700-1700      Sat/Sun
                        NKSP           0600-0000      Mon-Thurs
                                       0600-1700      Fri
                                       0700-1700      Sat/Sun
                        PBSP           0700-1700      Sat/Sun/Mon
                                       0700-2200      Tues-Fri
                        PVSP           0700-1700      7
                        RJD            0700-2200      5
                                       0700-1700      Sat/Sun
                        SAC            0600-0100
                        SATF           0700-1700      7
                        SCC            0730-1730      5
                                       0800-1800      Sat/Sun
                        SOL            0700-1700      7
                        SQ             0600-2300      M-Thurs
                                       0600-1900      Fri
                                       0700-1700      Sat/Sun
                        SVSP           0700-1700      5
                                       1000-2300      5 (CIT)
                                       0700-1700      Sat/Sun MHCB
                                                      Staff
                        VSP            0700-1700      7
                        WSP            0700-1700      7




   e. Clustering of Mental Health Crisis Beds

In December 2016, Defendants clustered their crisis beds into three regions. Defendants have
seen a decrease in the average time for inmates to be transferred to an outside crisis bed. The
slight increase in March was due to redlined MHCBs for ligature reduction retrofits:

Month                           Ave. Wait Time 2016             Ave. Wait Time 2017
January                         27.25                           20.82
February                        26.85                           22.26
March                           23.92                           26.50
April                           29.43                           25.10
May                             56.73                           26.56
June                            83.68                           25.48




                                                                                      Exhibit 3 - 003
 Case 2:90-cv-00520-KJM-SCR Document 5680-4                   Filed 09/13/17     Page 5 of 16
RE: Mental Health Crisis Bed Proposal
Page 4


         90

         80

         70

         60

         50
                                                                         Ave. Wait Time 2016
 Hours




         40
                                                                         Ave. Wait Time 2017
         30

         20

         10

          0
              January   February   March   April   May      June


Additionally, transfer timeframes for both internal and external transfers, combined, have seen a
dramatic decrease since clustering started in 2016. The following graphs show the average time
between HCPOP being notified of a referral to the time the referral is disposed of (transferred
internally or externally, or rescinded) for 2016 and 2017.

                                           2016 Referrals




                                                                                       Exhibit 3 - 004
 Case 2:90-cv-00520-KJM-SCR Document 5680-4                    Filed 09/13/17      Page 6 of 16
RE: Mental Health Crisis Bed Proposal
Page 5


                                         2017 Referrals




   2. Reporting on the Crisis Bed Transfer Timeframe

Defendants for years have reported on the transfer timeframe by calculating the time between
referral and internal placement or the time between referral and the time the inmate is placed on
special transport to go to another institution. This calculation provides the cleanest method to
account for factors outside of Defendants’ control once an inmate is placed on a transport
vehicle. While, as reported above, average transfer times to outside institutions have decreased
due to the clustering of MHCBs, transportation issues such as traffic and weather still impact
transportation times. For external transfers, treating the referral as complete when the patient is
placed on a transport vehicle, where the inmate is safe and unable to harm himself, continues to
make the most sense.

It is also unclear whether CDCR can comply with a 24-hour requirement defined as 24 hours
from referral to admission of the inmate by an outside institution. Between February 12, 2017,
and July 12, 2017, there were 1,293 referrals to mental health crisis beds that took longer than 24
hours to complete using the current method of calculation. If the 24 hour requirement were
measured instead by admission by an outside institution, there would have been 1,649 timeframe
violations, a difference of 356.

   3. Rescission Rates

Approximately 33% of all crisis bed referrals are rescinded prior to transfer. Between February
12, 2017, and July 12, 2017, approximately 2,143 of the 6,370 referrals were rescinded. In May
2017, of the 412 rescinded referrals, 83% were rescinded within the first 24 hours. Notably,
rescission rates are much higher when the initial referral to a crisis bed is made by an on-call



                                                                                        Exhibit 3 - 005
 Case 2:90-cv-00520-KJM-SCR Document 5680-4                                                                                    Filed 09/13/17                              Page 7 of 16
RE: Mental Health Crisis Bed Proposal
Page 6


provider during after-hours coverage. For all rescinded referrals made between January 1, 2017,
and June 30, 2017, 73% were after hours referrals (referrals made between 5:00 PM and 5:00
AM):


                    All Institutions Rescinding Referral Originally Made Between
                                            5PM and 5AM
 300



 250



 200



 150



 100



  50



   0
                                                                     COR




                                                                                                                             MCSP
                         CCWF
                                CEN




                                                                                                                                                  RJD
                                      CHCF




                                                                           CTF
                                                                                 DVI




                                                                                                                                    NKSP
       ASP


                   CCI




                                             CIM
                                                   CIW
                                                         CMC
                                                               CMF




                                                                                                                KVSP
                                                                                                                       LAC



                                                                                                                                           PBSP


                                                                                                                                                        SAC




                                                                                                                                                                                             VSP
             CAL




                                                                                       FOL




                                                                                                                                                                           SOL




                                                                                                                                                                                                   WSP
                                                                                             FWF
                                                                                                   HDSP
                                                                                                          ISP




                                                                                                                                                                                 SQ
                                                                                                                                                              SATF
                                                                                                                                                                     SCC



                                                                                                                                                                                      SVSP
Reducing the rescission rate would reduce the workload for tracking and arranging transport for
patients pending crisis bed admission. In order to reduce rescissions and better utilize crisis beds
and resources dedicated to bed placement, CDCR proposes that referrals to crisis bed be made by
an in-person assessment only and that there is a provision in place to allow time for patients who
need a break from their housing environment. After the face to face evaluation, clinicians will
have up to 8 hours from the time of the emergency referral to make a decision regarding MHCB
placement. When a clinician is not available on-site, inmates voicing suicidal ideation will be
placed on one-on-one observation, either in their cell or a safe environment, until such time as an
on-site clinician can assess the inmate.

   4. Readmission Rates

Readmissions are a high driver of crisis bed referrals. In May 2017, 23% of patients admitted to
a crisis bed were readmitted within 30 days.




                                                                                                                                                                                      Exhibit 3 - 006
 Case 2:90-cv-00520-KJM-SCR Document 5680-4                     Filed 09/13/17      Page 8 of 16
RE: Mental Health Crisis Bed Proposal
Page 7


2017 data shows that there were 624 patients with two or more MHCB admissions in the past six
months. These patients are 40% of the patients with a MHCB admission and account for 67% of
all MHCB admissions.

   5. Long Lengths of Stay in Mental Health Crisis Beds

Plaintiffs July 6, 2017, letter noted that there were several inmates in crisis beds beyond sixty
days. That data was based on Defendants’ monthly psychiatric aging report. This report
included several inmates who were out to court and not in a crisis bed, but remained on crisis bed
status. Of the eight inmates with the longest lengths of stay, one inmate was a SOMS coding
error, one had a medical hold, one was chronically acutely and neurologically impaired and
rejected for acute or intermediate care, and five were out to court.

Currently, there are fifteen inmates with crisis bed stays beyond 30 days. Of those, eleven have
been referred to intermediate care or acute programs. Two were kept in crisis beds based on
clinical decisions. One is medically unstable and is awaiting a referral to an acute program, and
one is held in a crisis bed based on headquarters approval.

   6. Institutions with High Rates of Transfer Timeframe Noncompliance

Defendants acknowledge that a several institutions have high rates of crisis bed transfer
noncompliance. Those institutions (RJD, COR, SVSP, LAC, CIW, and CCWF), have unique
issues that include transportation officer overtime challenges, difficult and uncooperative
patients, more frequent medical issues preventing prompt clearance, or simple communication
issues with the transportation office. Defendants are investigating issues of poor coordination
between transportation and program to ensure that there is accountability for delayed transports.

   7. Female Transfers to Crisis Beds

CDCR has identified inmates custodially eligible to go to Patton State Hospital. CDCR has sent
the Department of State Hospital several referrals and is in the process of sending more.
Referring inmates for inpatient care at Patton will provide CDCR flexibility to place inmates in
inpatient beds at the CIW Psychiatric Inpatient Program (PIP). . Additionally, CIW is using a
Crisis Intervention Team model to reduce unnecessary crisis bed referrals. Plans are underway
to expand this program at CCWF.


   8. Out to Court

Plaintiffs requested data on how often inmates are referred to a crisis bed, but then must go out to
court prior to the transfer to a crisis bed. Defendants were able to obtain some data over the past
year demonstrating that this scenario does occur. Between July 1, 2016, and July 17, 2017, there
were fifty-six instances where an inmate’s level of care was changed to Mental Health Crisis
Bed; however, before reaching a Mental Health Crisis Bed, the inmate was sent out to court.




                                                                                         Exhibit 3 - 007
 Case 2:90-cv-00520-KJM-SCR Document 5680-4                  Filed 09/13/17     Page 9 of 16
RE: Mental Health Crisis Bed Proposal
Page 8


Given that this situation does occur, Defendants insist that an out to court exception must be
included for MHCB transfers as the parties have agreed for transfers to inpatient care.

      9. Transportation Vehicles

As stated in our last workgroup, Defendants do not believe that there is a lack of a sufficient
number of transportation vehicles to assist in crisis bed transfers. Although Defendants have
purchased new vehicles recently, those vehicles are meant to replace aging vehicles in the fleet
and were not acquired due to a need to increase the size of the fleet.

Defendants look forward to discussing these data and issues with Plaintiffs and the Special
Master at our workgroup on July 24, 2017.


Sincerely,




Nick Weber
Attorney
Office of Legal Affairs

/s/ Andrea S. Moon
Andrea S. Moon
Attorney
Office of Legal Affairs

Attachment: MHCB Data Sheet 7.21.2017

Cc:

Special Master Lopes
Michael Bien
Tom Nolan
Steve Fama
Co-Counsel




                                                                                      Exhibit 3 - 008
Case 2:90-cv-00520-KJM-SCR              Document 5680-4          Filed 09/13/17   Page 10 of 16
                                                                                                    1



MHCB Data Sheet

As of July 12, 2017, there were 31 patients in a MHCB awaiting an EOP bed:

Pts in MHCB Program >LOS 10 Days Waiting for EOP Bed as of July 12, 2017

                                            Number of
                                            MHCBs
                                            Available
                           No. of Pts >     at Inst.     Pts/MHCB Beds % > LOS 10
                           LOS 10 days      (Capacity)   days
CHCF                                  10              98                     10%
CMC                                     3             50                      6%
CMF                                     4             50                      8%
COR                                     3             24                     13%
HDSP                                    1             10                     10%
LAC                                     1             12                      8%
MCSP                                    1              8                     13%
PBSP                                    1             10                     10%
SAC                                     6             44                     14%
SVSP                                    1             10                     10%
Grand Total                           31             316                     10%
Source: On Demand Length-of-Stay Report




CONFIDENTIAL                             COLEMAN v. BROWN            SUBJECT TO PROTECTIVE ORDERS
                                                                                       Exhibit 3 - 009
Case 2:90-cv-00520-KJM-SCR             Document 5680-4            Filed 09/13/17    Page 11 of 16
                                                                                                       2


Number of Inmates in MHCBs for More than 10 Days with the Reasons as of July 12, 2017.

                Total               Due to delays in
              Number of               processing        Due to clinical
              MHCB Beds      # of      discharge        reasons (DTS,
                           Inmate- (transportation,        unstable
                          Patients   pending APP,         condition,         Other
                          in MHCB       ICF, PIP           medical        (Unspecified,
Institution               > 10 days    opening)         hold/change)      N/A, Blanks)

CCWF             12          3              2                 1                0

CHCF             98          48             6                 37               5

CIM              34          17             0                 17               0

CIW              10          12             0                 0                12

CMC              50          20            11                 9                0

CMF              50          7              5                 0                2

COR              24          7              2                 5                0

HDSP             10          1              0                 1                0

KVSP             12          2              2                 0                0

LAC              12          2              2                 0                0

MCSP              8          3              2                 0                1

NKSP             10          4              1                 3                0

PBSP             10          1              0                 1                0

PVSP              6          1              1                 0                0

RJD              14          5              0                 5                0

SAC              24          17             5                 9                3

SATF             20          12            12                 0                0

SOL               9          3              2                 1                0

SVSP             10          3              0                 3                0

WSP               6          3              0                 3                0

CDCR Total       449        171            53                 95               23




CONFIDENTIAL                            COLEMAN v. BROWN             SUBJECT TO PROTECTIVE ORDERS
                                                                                          Exhibit 3 - 010
Case 2:90-cv-00520-KJM-SCR               Document 5680-4          Filed 09/13/17      Page 12 of 16
                                                                                                          3


The table below demonstrates how long on average patients waited for transfer after clinical discharge.
Data represents a time period from February 12, 2017 – July 12, 2017.


                                      Clinical vs. Physical Length of Stay


                                                                  Average
                         Admit To     Average Clinical LOS      Physical LOS
                        Institution          Days                  Days
                          CCWF                10                     12
                           CHCF               13                     14
                           CIM                19                     21
                           CIW                 9                     9
                           CMC                12                     16
                           CMF                18                     20
                           COR                13                     13
                           HDSP                7                     10
                           KVSP                8                     10
                            LAC               10                     14
                          MCSP                 9                     9
                           NKSP               23                     23
                           PBSP               10                     11
                           PVSP               10                     12
                            RJD               22                     22
                            SAC               18                     21
                           SATF               15                     17
                            SOL                9                     11
                            SQ                 8                     8
                           SVSP               13                     14
                            VSP                8                     11
                           WSP                11                     12
                          CDCR                14                  15
                       Source: MHCB Referrals (Datawarehouse indicator)
                       2/12/17-7/12/17




CONFIDENTIAL                             COLEMAN v. BROWN              SUBJECT TO PROTECTIVE ORDERS
                                                                                             Exhibit 3 - 011
Case 2:90-cv-00520-KJM-SCR             Document 5680-4            Filed 09/13/17   Page 13 of 16
                                                                                                      4


From February 14, 2017 to July 14, 2017, 94 patients were discharged from a MHCB within one day and
122 were discharged within two days. When a patient is discharged from a MHCB within one or two
days, this is not considered a rescinded referral because the patient was admitted to the MHCB.



                                 Discharged in    Discharged in    # of
                 Month           1 Day            2 days           Discharges

                 Feb                          7             29            36

                 Mar                        19              21            40

                 Apr                        17              16            33

                 May                        28              32            60

                 Jun                        23              24            47

                 Jul                          7               6           13

                 Grand Total               101             128           229




CONFIDENTIAL                            COLEMAN v. BROWN             SUBJECT TO PROTECTIVE ORDERS
                                                                                         Exhibit 3 - 012
Case 2:90-cv-00520-KJM-SCR               Document 5680-4          Filed 09/13/17       Page 14 of 16
                                                                                                         5


MHCB Placements and Rescissions by Institution and Prior Level of Care

April 1, 2016 - April 20, 2017

                                                                          Plaintiffs
                                                        Percentage        Rescission
Inst.          Referred      Rescinded    Placed        Rescinded         Rate

    ASP            92             9            83           10%                9%

    CAC             6             0            6             0%                0%

    CAL            51             6            45           12%                14%

    CCC            11             1            10            9%                6%

        CCI        345           11           334            3%                2%

   CCWF            777           583          194           75%                74%

    CEN            33             3            30            9%                13%

   CHCF            423           123          300           29%                31%

    CIM            351           17           334            5%                9%

    CIW            472           82           390           17%                14%

    CMC            829           293          536           35%                31%

    CMF            462           148          314           32%                30%

    COR           1539           892          647           58%                52%

    CRC            46             6            40           13%                18%

    CTF            81            24            57           30%                30%

   CVSP            15             1            14            7%                25%

    DVI            324           109          215           34%                32%

    FSP            56            36            20           64%                30%

   HDSP            170           54           116           32%                37%

        ISP        49             0            49            0%                23%

   KVSP            604           282          322           47%                42%

    LAC            665           301          364           45%                47%

   MCSP            946           488          458           52%                52%

   NKSP            780           440          340           56%                56%




CONFIDENTIAL                             COLEMAN v. BROWN                SUBJECT TO PROTECTIVE ORDERS
                                                                                            Exhibit 3 - 013
Case 2:90-cv-00520-KJM-SCR               Document 5680-4        Filed 09/13/17     Page 15 of 16
                                                                                                     6


   PBSP            200         149            51          75%             30%

   PVSP            77           15            62          19%             13%

   RJD             845          87            758         10%             15%

   SAC            1382         944            438         68%             62%

   SATF            853         303            550         36%             32%

   SCC             59           11            48          19%             16%

   SOL             74           32            42          43%             27%

    SQ             201          27            174         13%             30%

   SVSP            928         343            585         37%             32%

   VSP             394         125            269         32%             29%

   WSP             829         413            416         50%             43%

   Total          14969        6358          8611


Number of Readmissions Per Identified Year (and January 1, 2017 – June 30, 2017)

                                      ACUTE/ICF                   MHCB
     Year          ACUTE/ICF          Readmits       MHCB        Readmits
     2014            2439                237         10240         2180
     2015            2350                234         10062         2140
     2016            2907                390         9297          2013
2017 up to 6/30      1444                126         4723           879




CONFIDENTIAL                             COLEMAN v. BROWN          SUBJECT TO PROTECTIVE ORDERS
                                                                                        Exhibit 3 - 014
Case 2:90-cv-00520-KJM-SCR              Document 5680-4         Filed 09/13/17      Page 16 of 16
                                                                                                       7


ICF and ACUTE Transfers
The statewide average transfer times from MHCB’s to APP or ICF in May and June 2017 are eight days
for Acute, 11 days for ICF, and a combined 10 day average for both.


                                Average Transfer Timeline by Referral Type
                                    (MHCB Referred to Inpatient Bed)
                                           For May-June, 2017
                                        (Numbers Refer To Days)

                                                                     Combined
                               SITE           APP         ICF         Average
                              CCWF             7           0             7
                               CHCF            11         27             11
                               CIM             10         19             13
                               CIW             6           4             5
                               CMC             9          16             10
                               CMF             8          19             15
                               COR             9          21             10
                               KVSP            8          24             11
                                LAC            9           0             9
                               MCSP            9           0             9
                               NKSP            7           0             7
                               PVSP            7           0             7
                                RJD            9          24             10
                                SAC            13          0             13
                               SATF            9          11             9
                                SOL            9           0             9
                                SQ             0           4             4
                               SVSP            11         21             12
                               WSP             10         15             11




CONFIDENTIAL                            COLEMAN v. BROWN            SUBJECT TO PROTECTIVE ORDERS
                                                                                          Exhibit 3 - 015
